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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

EVERETT ARRINGTON, JOHN
COLLINS, LORETTA MAYNOR,
                                            CASE NO. 2:23-cv-00269-SCJ
JUDY GILREATH, DON
FERGUSON, KERRI CRANE,
TRACY FERGUSON, WILLIAM
FERGUSON, SARA SMITH,

                           Plaintiffs,
      v.

META PLATFORMS, INC.,
                          Defendant.


                                ORDER TO EXTEND AND
                              STAY CERTAIN DEADLINES

               Having considered the Consent Stipulated Request to Extend and Stay Certain

Deadlines submitted by the Parties, the stipulation (construed as a motion) is GRANTED.

               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the parties’

deadlines are adjusted as follows:

      (1)     Plaintiffs’ deadline to file a motion to remand is extended until

              February 13, 2024. Meta shall file its response on or before March 14,

              2024. Plaintiffs shall file their reply on or before March 29, 2024;
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